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  6
    Attorneys for
  7 Atari Interactive, Inc.
  8                                  UNITED STATES DISTRICT COURT
  9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 ATARI INTERACTIVE, INC.,                        Case No.
 12                     Plaintiff,                  COMPLAINT FOR:
 13               vs.                               (1) TRADEMARK
 14 INNEX, INC.; KOOL BRANDS, LLC,                      INFRINGEMENT AND
                                                        COUNTERFEITING;
 15                     Defendants.                 (2) FALSE DESINGATION OF
                                                        ORIGIN;
 16                                                 (3) COMMON LAW UNFAIR
                                                        COMPETITION; AND
 17                                                 (4) TRADEMARK DILUTION.
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                                                    DEMAND FOR JURY TRIAL
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  1               Plaintiff Atari Interactive, Inc. (“Plaintiff” or “Atari”), as and for its
  2 complaint against defendants Innex, Inc. (“Innex”) and Kool Brands, LLC (“Kool
  3 Brands” and, collectively, “Defendants”), alleges as follows:
  4                                                PARTIES
  5               1.     Plaintiff is a Delaware corporation with its principal place of business
  6 in New York, New York.
  7               2.     Plaintiff is informed and believes, and thereon alleges, that Innex is a
  8 California corporation with its principal place of business in Pomona, California.
  9               3.     Plaintiff is informed and believes, and thereon alleges, that Kool
 10 Brands is a Nevada Limited Liability Company with its principal place of business
 11 in Pomona, California.
 12                                    JURISDICTION AND VENUE
 13               4.     This Court has subject matter jurisdiction over this action pursuant to
 14 28 U.S.C. sections 1331 and 1338 because the action arises under the federal
 15 Lanham Act. See 15 U.S.C. §§ 1051, et seq. This Court also has supplemental
 16 jurisdiction pursuant to 28 U.S.C. sections 1367 and 1338(b).
 17               5.     Venue in this district is proper under 28 U.S.C. section 1391 because
 18 Defendants are subject to personal jurisdiction here, Atari has suffered injury here,
 19 and a substantial part of the events or omissions giving rise to the claim occurred
 20 here.
 21               6.     This Court has personal jurisdiction over Defendants because, upon
 22 information and belief, Defendants maintain their principal place of business in
 23 California, and specifically within this judicial district. This Court also has personal
 24 jurisdiction over Defendants because Defendants regularly market and sell goods,
 25 including the goods at issue in this case, to customers in California.
 26                                     GENERAL ALLEGATIONS
 27               A.     Atari and Its Joystick Controller Are Well-Known to the Public.
 28               7.     Atari is one of the most famous video game brands in history. Founded
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  1 in the early 1970s in California, Atari became the pioneer in the video game
  2 industry during the 1970s and continuing into the 1980s, developing and releasing
  3 home video consoles including the Atari 2600 game console and associated Atari
  4 2600 joystick controller. Moreover, Atari released a series of hit games – e.g., Pong,
  5 Breakout, Asteroids, and many others.
  6               8.    Atari became known to relevant consumers and the public at large by
  7 its inherently distinctive trade name, as well as its inherently distinctive A-shaped or
  8 “Fuji” logo design. The Atari name and logo are depicted immediately below.
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 17               9.    Atari also became known to relevant consumers and the public at large
 18 by the trade dress and ornamental design of its Atari 2600 joystick controller.
 19       10. Atari has continued to market, promote, license, and sell products
 20 worldwide under the Atari trademark for over four decades, and has cultivated wide
 21 recognition among relevant consumers and the public at large for, among other
 22 things, the distinctive design and ornamental features of the Atari 2600 joystick
 23 controller.
 24               11.   Atari has developed, promoted, and distributed new interactive
 25 entertainment and products, including a new VCS console (modeled off the design
 26 of the original 2600 unit) that raised more than $3 million in crowd-funding and is
 27 currently in production.
 28               12.   The Atari name, logo, and trade dress are valuable intellectual property
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  1 owned by Atari. Atari therefore obtained registrations with the United States Patent
  2 and Trademark Office for many of its trademarks. For example, through commercial
  3 use and contractual agreements with its predecessors-in-interest, Atari is the owner
  4 of USPTO Trademark Registration No. 4,214,210 for the ATARI name and logo
  5 used in connection with, among other things, “video game machines for use with
  6 televisions; plug and play game units for playing video and computer games with
  7 the use of an external display screen or monitor[.]” Appended hereto as Exhibit 1 is
  8 a true and correct copy of the aforementioned trademark registration.
  9               13.   Turning to the iconic Atari 2600 joystick controller, in 1980, the United
 10 States Patent and Trademark Office issued two design patents, U.S. Patent Nos.
 11 D254,544 and D255,565 (attached hereto as Exhibits 1 and 2, respectively), both
 12 since expired, for the ornamental design elements of the Atari 2600 joystick
 13 controller depicted in the following representative figures:
 14    U.S. Patent No.                             Representative Figures
 15
 16
 17
 18
            D254,544
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            D255,565
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  9               14.   Video gamers new and old recognize and revere not only Atari, but the
 10 Atari 2600 joystick controller as a very well-known and iconic part of video gaming
 11 history.
 12               15.   In fact, the Atari 2600 was named to IEEE Spectrum’s Consumer
 13 Electronics Hall of Fame as one of “The Greatest Gadgets of the Past 50 Years.”
                                                                                    1


 14 IEEE Spectrum is the flagship magazine and website of the Institute of Electrical
 15 and Electronics Engineers, the world’s largest professional organization devoted to
                                                                   2
 16 engineering and the applied sciences with over 400,000 members. To help readers
 17 readily identify and recall the Atari 2600, IEEE Spectrum selected and used a photo
 18 that prominently features not only the console, but also the distinctive Atari 2600
 19 joystick controller:
 20
 21
 22
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 26     See https://spectrum.ieee.org/consumer-electronics/gadgets/the-consumer-
      electronics-hall-of-fame-atari-2600 (last visited December 30, 2020).
 27
      2
 28       See https://spectrum.ieee.org/static/aboutus (last visited December 30, 2020).

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                  16.   Atari has expanded into a multi-platform, global interactive
 12
      entertainment company, adapting many of its classic games for online platforms
 13
      such as Facebook, smartphones, and tablets. Atari has an active licensing business
 14
      through which licensed Atari hardware is produced, and has further extended its
 15
      brand into other media, merchandising, and publishing categories.
 16
                  17.   Atari continues to market, license, and/or sell products embodying the
 17
      ornamental design and iconic trade dress of the Atari 2600 joystick controller. One
 18
      example is the Atari 2600 Plug & Play Joystick, which incorporates many of the
 19
      distinctive trade dress elements including, but not limited to, the rectangular base
 20
      with a hexagonal joystick mounted near the center, a single prominent red button
 21
      located at the top left corner of the base, and a dashed circle circumscribing the base
 22
      of the joystick:
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                  18.   Through extensive and continuous promotion and sales, unsolicited
  9
      press, and word of mouth, Atari owns valuable intellectual property rights related to
 10
      the Atari 2600 joystick controller, including, among other things, the common law
 11
      rights in its trade dress and overall look and feel.
 12
                  B.    Defendants Deliberately Seek to Trade upon Atari’s Reputation
 13
                        and Goodwill by Using a Counterfeit Atari Trademark and Selling
 14
                        a Knockoff of the Atari 2600 Joystick Controller.
 15
                  19.   Founded in 2004, Innex describes itself on its website,
 16
      www.innexinc.com, as having “been in the forefront of the Retro gaming revolution,
 17
      securing all retro related merchandise and an exclusive partnership with Retro-Bit® -
 18
      the leading Retro Gaming brand in the world today.” Innex further brags that its
 19
      “current product portfolio includes, but is not limited to, first party and third party
 20
      video game accessories for all consoles ranging from Retro such as Atari®[.]”
 21
                  20.   Retro-Bit is a registered trademark of Kool Brands, and, upon
 22
      information and belief, Kool Brands maintains www.retro-bit.com. Upon
 23
      information and belief, Kool Brands is an agent of and partner with Innex in
 24
      marketing and selling the Retro-Bit products, and is under the control of Innex.
 25
                  21.   Notably, Defendants have never held a license to use any of Atari’s
 26
      intellectual property, specifically, but not limited to, Atari’s trademark and
 27
      intellectual property rights in the Atari 2600 joystick controller.
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                                                COMPLAINT
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  1               22.   Innex, on its website, advertised, marketed, displayed, offered for sale,
  2 sold, distributed, and profited from its “Atari 2600 Joystick Controller” which is a
  3 part of its Retro-Bit line of products (the “Retro-Bit joystick controller”).
  4               23.   Kool Brands, on www.retro-bit.com, advertises, markets, and displays,
  5 the Retro-Bit joystick controller, with a link to Amazon where it can be purchased.
  6               24.   Innex’s product listing page for the Retro-Bit joystick controller uses
  7 the Atari trademark to describe its product, as seen below:
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 17
                  25.   Kool Brands’ product listing page for the Retro-Bit joystick controller
 18
      uses the Atari trademark to describe its product, as seen below:
 19
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  1               26.   The Retro-Bit joystick controller further has numerous and striking
  2 similarities to the authentic Atari 2600 joystick controller.
  3               27.   Below is a side-by side comparison between the authentic Atari 2600
  4 joystick controller and the Retro-Bit joystick controller.
  5               Atari 2600 Joystick Controller               Retro-Bit Joystick Controller
  6
  7
  8
  9
 10
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 16               28.   The Atari 2600 joystick controller has a number of distinctive design
 17 elements that, when taken together, create an overall look and feel that consumers
 18 associate with Plaintiff Atari. Some examples of these distinctive features include,
 19 but are not limited to, the rectangular base with a protruding hexagonal joystick
 20 mounted substantially centrally thereon, a single prominent button located at the top
 21 left corner of the base, a rubber boot that connects the joystick to the base and is
 22 characterized by three concentric circular ridges of progressively decreasing height,
 23 a two-tiered tapered design to the base, and a dashed circle circumscribing the base
 24 of the joystick and rubber boot.
 25               29.   The Retro-Bit joystick controller incorporates these same, and other,
 26 distinctive design elements that make up the Atari 2600 joystick controller’s trade
 27 dress.
 28               30.   The Retro-Bit joystick controller is intended to infringe on Atari’s
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   1 rights in the trade dress and overall look and feel of the Atari 2600 joystick
   2 controller. Defendants’ own websites identify the Retro-Bit joystick controller as a
   3 “Atari 2600 Joystick Controller.”
   4                                  FIRST CLAIM FOR RELIEF
   5                         (Trademark Infringement and Counterfeiting)
   6               31.   Atari re-alleges and incorporates herein by reference each and every
   7 allegation set forth above.
   8               32.   Atari is the owner of the registered Atari® trademark for the categories
   9 of goods at issue here, i.e., for video game machines for use with televisions; plug
  10 and play game units for playing video and computer games with the use of an
  11 external display screen or monitor.
  12               33.   The Atari® trademark is a registered, valid, and protectable mark.
  13               34.   Defendants advertise, market, and sell their Retro-Bit joystick
  14 controller using a counterfeit Atari trademark. Defendants use the trademark on their
  15 websites to describe the goods, for promotional purposes, and to drive consumers to
  16 the website. 3
  17               35.   Defendants’ use of the counterfeit Atari® trademark is likely to cause
  18 confusion among ordinary purchasers as to the source of the goods.
  19               36.   Atari has never consented to Defendants’ use of its Atari® trademark.
  20               37.   Defendants have infringed upon the Atari® trademark and engaged in
  21 trademark counterfeiting willfully.
  22               38.   As a proximate result of the unfair advantage accruing to Defendants
  23 from using a confusingly similar mark and deceptively trading on Atari’s goodwill,
  24 Defendants have made substantial sales and profits in amounts to be established
  25 according to proof.
  26
  27   3
       While the product listing for the Retro-Bit joystick controller has now been
  28 removed from www.innexinc.com, it remains on www.retro-bit.com.
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                                                 COMPLAINT
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   1               39.   As a proximate result of the unfair advantage accruing to Defendants
   2 from using a similar or quasi-similar mark and deceptively trading on Atari’s
   3 goodwill, Atari has been damaged and deprived of substantial sales and has been
   4 deprived of the value of its trademark as a commercial asset, in an amount to be
   5 established according to proof.
   6               40.   Unless restrained by the Court, Defendants will continue to infringe
   7 upon the Atari® trademark. Pecuniary compensation will not afford Atari adequate
   8 relief for the damage to its trademark and brand. In the absence of injunctive relief,
   9 consumers are likely to continue to be mistaken or deceived as to the true source,
  10 origin, sponsorship, and affiliation of Defendants and their goods.
  11               41.   Defendants’ acts were committed, and continue to be committed, with
  12 actual notice of Atari’s exclusive rights and with the intent to cause confusion, to
  13 cause mistake, and/or to deceive, and to cause injury to the reputation and goodwill
  14 associated with Plaintiff and its products. Pursuant to 15 U.S.C. section 1117, Atari
  15 is, therefore, entitled to recover three times its actual damages or three times
  16 Defendants’ profits, whichever is greater, together with its attorneys’ fees. Atari is
  17 also entitled to statutory damages of $2 million per registered mark. In addition,
  18 pursuant to 15 U.S.C. section 1118, Atari is entitled to an order requiring destruction
  19 of all infringing products and promotional materials in Defendants’ possession.
  20                                SECOND CLAIM FOR RELIEF
  21                                   (False Designation of Origin)
  22               42.   Atari re-alleges and incorporates herein by reference each and every
  23 allegation set forth above.
  24               43.   The Atari® trademark is inherently distinctive and has also acquired
  25 secondary meaning through extensive promotion and sales, over unsolicited press,
  26 and word of mouth for almost five decades.
  27               44.   Through sales, promotional activities, unsolicited press, and word-of-
  28 mouth, Atari has acquired secondary meaning in a distinctive trade dress for the
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   1 Atari 2600 joystick that includes the following elements, among others: (a) the
   2 rectangular base with a protruding hexagonal joystick mounted substantially
   3 centrally thereon; (b) a single prominent button located at the top left corner of the
   4 base; (c) a rubber boot that connects the joystick to the base and is characterized by
   5 three concentric circular ridges of progressively decreasing height; (d) a two-tiered
   6 tapered design to the base; and (e) a dashed circle circumscribing the base of the
   7 joystick and rubber boot. Atari’s trade dress consists of the overall look and feel of
   8 the Atari 2600 joystick controller, and not any one element individually. The
   9 aforementioned trade dress is referenced as the “Joystick Designation of Origin.”
  10               45.   Defendants are advertising, marketing, creating, displaying, offering for
  11 sale, selling, distributing, and profiting from products incorporating the Joystick
  12 Designation of Origin and Console Designation of Origin or nearly identical
  13 variations thereof. Defendants also use the Atari® trademark in their marketing,
  14 advertising, and offering for sale of these products.
  15               46.   Defendants’ use of Atari’s trademark and Joystick Designation of
  16 Origin is likely to cause confusion among ordinary purchasers as to the source of the
  17 goods.
  18               47.   Atari has never consented to Defendants’ use of its trademark or
  19 Joystick Designation of Origin.
  20               48.   Defendants have infringed, and continue to infringe, upon Atari’s
  21 trademark and Joystick Designation of Origin willfully.
  22               49.   As a proximate result of the unfair advantage accruing to Defendants
  23 from using a similar or quasi-similar trademark and trade dress and deceptively
  24 trading on Atari’s goodwill, Defendants have made substantial sales and profits in
  25 amounts to be established according to proof.
  26               50.   As a proximate result of the unfair advantage accruing to Defendants
  27 from using a confusingly similar trademark and trade dress and deceptively trading
  28 on Atari’s goodwill, Atari has been damaged and deprived of substantial sales and
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   1 has been deprived of the value of its Atari® trademark and Joystick Designation of
   2 Origin as commercial assets, in amounts to be established according to proof.
   3               51.   Defendants’ acts were committed, and continue to be committed, with
   4 actual notice of Atari’s exclusive rights and with the intent to cause confusion, to
   5 cause mistake, and/or to deceive, and to cause injury to the reputation and goodwill
   6 associated with Atari. Pursuant to 15 U.S.C. section 1117, Atari is therefore entitled
   7 to recover three times its actual damages or three times Defendants’ profits,
   8 whichever is greater, together with its attorneys’ fees. In addition, pursuant to 15
   9 U.S.C. section 1118, Atari is entitled to an order requiring destruction of all
  10 infringing products and promotional materials in Defendants’ possession.
  11                                  THIRD CLAIM FOR RELIEF
  12                               (Common Law Unfair Competition)
  13               52.   Atari re-alleges and incorporates herein by reference each and every
  14 allegation set forth above.
  15               53.   Defendants’ unauthorized use of Atari’s trademark and trade dress is
  16 likely to cause consumer confusion as to the source, origin, sponsorship, and
  17 association of Defendants’ products.
  18               54.   Atari has been, and will continue to be, damaged and irreparably
  19 harmed by the actions of Defendants unless Defendants are enjoined by this Court.
  20               55.   Atari has no adequate remedy at law.
  21               56.   Atari is entitled to recover damages and/or Defendants’ profits in an
  22 amount to be determined at trial.
  23               57.   Atari is informed and believes, and thereon alleges, that Defendants
  24 committed the foregoing acts with the intention of depriving Atari of its legal rights,
  25 with oppression, fraud, and/or malice, and in conscious disregard of Atari’s rights.
  26 Atari is, therefore, entitled to an award of exemplary and punitive damages,
  27 according to proof.
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   1                                FOURTH CLAIM FOR RELIEF
   2                                       (Trademark Dilution)
   3               58.   Atari re-alleges and incorporates herein by reference each and every
   4 allegation set forth above.
   5               59.   The Atari® trademark and Joystick Designation of Origin are widely
   6 recognized by the general consuming public of the United States as originating with
   7 Atari.
   8               60.   Defendants’ unauthorized use of the Atari® trademark and Joystick
   9 Designation of Origin has the effect of diluting, tarnishing and blurring them.
  10               61.   Atari is entitled to recover damages and/or Defendants’ profits in an
  11 amount to be determined at trial.
  12               62.   Atari is entitled to an order preliminarily and permanently enjoining
  13 Defendants from using the Atari® trademark and Joystick Designation of Origin in
  14 the future.
  15               63.   Because Defendants have willfully intended to cause the dilution of
  16 Atari’s trademark and trade dress, Atari is further entitled to recover its costs of suit
  17 and reasonable attorney’s fees pursuant to 15 U.S.C. sections 1117 and 1125(c)(2).
  18                                     PRAYER FOR RELIEF
  19               WHEREFORE, Plaintiff prays for relief against Defendant as follows:
  20               1.    For preliminary and permanent injunctions enjoining and restraining
  21 Defendants, their agents, employees, representatives, partners, joint venturers,
  22 and/or anyone acting on behalf of, or in concert with Defendants, from:
  23                     a.    designing, manufacturing, importing, shipping, delivering,
  24                           selling, marketing, displaying, advertising, or promoting any
  25                           product that incorporates or is marketed in conjunction with the
  26                           Atari® trademark or Plaintiff’s 2600 joystick trade dress;
  27                     b.    representing or implying, directly or indirectly, to retailers,
  28                           customers, distributors, licensees, or any other customers or
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   1                           potential customers of Defendants’ products that Defendants’
   2                           products originate with, are sponsored, endorsed, or licensed by,
   3                           or are otherwise associated or affiliated with Plaintiff;
   4               2.    For an order requiring the destruction of all of Defendants’ products,
   5 marketing, advertising, or promotional materials that use the Atari® trademark or
   6 include any trade dress that is confusingly similar to Plaintiff’s 2600 joystick trade
   7 dress;
   8               3.    For an accounting of all profits obtained by Defendants from sales of
   9 the infringing products and an order that Defendants hold all such profits in a
  10 constructive trust for the benefit of Plaintiff;
  11               4.    For an award to Plaintiff of all profits earned by Defendants from their
  12 infringing acts;
  13               5.    For compensatory damages according to proof;
  14               6.    For treble, exemplary, and/or punitive damages;
  15               7.    For statutory damages of no less than $2 million per registered
  16 trademark;
  17               8.    For pre-judgment interest on all damages awarded by this Court;
  18               9.    For reasonable attorney’s fees and costs of suit incurred herein; and
  19               10.   For such other and further relief as the Court deems just and proper.
  20 DATED: January 15, 2021                    BROWNE GEORGE ROSS
                                                O’BRIEN ANNAGUEY & ELLIS LLP
  21
                                                   Keith J. Wesley
  22                                               Matthew L. Venezia
  23
  24                                            By:        /s/Matthew L. Venezia
                                                           Keith J. Wesley
  25
                                                Attorneys for Atari Interactive, Inc.
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   1                                  DEMAND FOR JURY TRIAL
   2               Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal
   3 Rules of Civil Procedure.
   4 Dated: January 15, 2021                     BROWNE GEORGE ROSS LLP
                                                    Keith J. Wesley
   5
   6
                                                 By:     /s/Matthew L. Venezia
   7                                                         Keith J. Wesley
   8                                                         Matthew L. Venezia
                                                 Attorneys for Plaintiff
   9                                             Atari Interactive, Inc.
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                                                  COMPLAINT
